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                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

GOLDEN GATE                                   §
COMMUNICATIONS, LLC                           §
                                              §
v.                                            §    CIVIL NO. 4:23-CV-063-SDJ
                                              §
ALLIOS, INC.                                  §

                                          ORDER
     .
         Before the Court is Plaintiff’s Motion to Voluntarily Dismiss Without

Prejudice, (Dkt. #16). Having considered the motion, the Court concludes that it

should be granted.

         It is therefore ORDERED that the Motion is GRANTED.

         It is further ORDERED that the above-captioned matter is DISMISSED

WITHOUT PREJUDICE. Each party will bear its own attorneys’ fees and costs.

         The Clerk is directed to close this civil action.

          So ORDERED and SIGNED this 25th day of April, 2023.




                                                        ____________________________________
                                                        SEAN D. JORDAN
                                                        UNITED STATES DISTRICT JUDGE
